TIMFse 5:23-C¥R90802 fBocument 172-2 PPR 04/28/25 Page 1 of 1 PagelD #: 5185

09/15/2023 email other set fu

5:20 PM

09/15/2023 Email Sent sssphotos@cccis.co Photos attached

5:19 PM m

09/15/2023 phone vendor ccc acvref # 115110116 ((24- 48 hr for value )

5:19 PM

09/15/2023 phone adjuster IBC from SF : spoke to Joyce () advised need photos of unit to support
3:28 PM frnt end dmg per shop sheet. reviewed the tow $ amt and that it

would be taken into consideration on the back end . run acv for
value.24-48 hrs

09/15/2023 phone adjuster ibc from adj, transferred estimator to adj for assistance.

3:17 PM

09/13/2023 other adjuster set f/u

11:54 AM

09/11/2023 other adjuster st f/u

11:35 AM

09/11/2023 phone adjuster obc to SF: (855)341-8184 : review w/ SF on how they want the claim
11:34 AM handled . shop quoting 20k for towing (( PTL w. tow included )) repair

estimated with limited photos just under 10k w/ no supporting docs. (
claim handler w. SF :Joyce Thomas : ph # 844-292-8615 (972-744-
1844 ? rep no sure )) LM for call back - claim on hold until directive
provided by SF -

09/11/2023 text customer Appraisal Team here! Please reply with a photo of your 4 Comers, and
10:59 AM photos documenting all damage.Thanks!

09/11/2023 Email Sent bamsalesllcl12@start | Hello Bam Sales Llc D.B.A. Jennings Rv Sales,

7:32 AM mail.com

This is a reminder to please submit the documentation listed below fo
r TERRY VANOVER’s 2014 Keystone MOUNTAINEE so that we can pro
cess your open supplement request:

Photos of exterior of unit , Photos to support shop estimate.

To submit the requested documentation, you can either simply reply t
o this email with the documents attached, or submit them through ou
r portal at https://shops.snapsheet.me.

If you have any questions or concerns please contact me at 3126688
071.

Thank you,

Victoria Echevarria

Snapsheet Estimating Department

SNAPSHEET-000085
